Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 1 of 51

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No. 01-9013-CIV.-RYSKAMP
Magistrate Judge Vitunac

Luz-Carranza, e_t. a_l.,
individually and on behalf of
all others similarly situated,

 

VW

    

 

Plaintiffs,

VS.

   

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Mecca Farms, Inc., e_t. a_l.,

Defendants.
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PLAINTIFFS AND DEFENDANT MECCA FARM§LINC.’S
JOINT MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
AND SUPPORTING MEMORANDUM OF LAW

The Plaintiffs and Defendant Mecca Farms, lnc. (“Mecca”) have reached agreement on a
proposed settlement of this action and hereby jointly move the Court pursuant to Rule 23(b)(3) of
the Federal Rules of Civil Procedure for an Order:

l. Certifying a Settlement Class as follows: All migrant and seasonal agricultural
workers furnished to Mecca Farms, lnc. by M. Sanchez & Son, Inc., Maria T. Sanchez, or
Rogerio T. Rodriguez from August 1997 through November 2001, inclusive

2. Conditionally approving the proposed settlement as set forth in the Settlement
Agreement, a copy of which is attached hereto as Exhibit “F.”

3. Directing the Plaintiff to provide notice to the class members

4. Approving the notices to be published in Spanish language publications and on <

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Spanish language radio stations as attached as Exhibits “B-E” (in the English language) / >

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 2 of 51

5. Scheduling a hearing on the l /day of W 200 5 _to

determine whether the settlement should be finally approved by the Court and judgment entered.

In making this Motion, counsel for the respective settlement parties stipulate and
represent to the Court:

l. That the Settlement Agreement was reached through extensive arms-length
negotiations between counsel for the Plaintiff and counsel for the Defendant Mecca.

2. That Plaintiffs’ counsel represent that they are experienced in the representation of
farmworkers in civil matters and are well qualified to evaluate the fairness of the proposed
settlement on behalf of the members of the class.

3. That the Settlement Agreement is fair, reasonable, and adequate as to the members of
the class in light of the total class settlement fund being offered to the class members by the
Defendant, as compared to the uncertainties of litigation of these claims, and the significant cost,
time, and efforts this litigation would entail on behalf of all parties, regardless of the outcome.

4. That the Settlement Agreement represents the proposed compromise of disputed
claims and in no way constitutes an admission of liability by Defendant Mecca with respect to
any of the material allegations of the Complaint and Amended Complaint. Nor does it constitute
an admission by the Plaintiffs that they would not ultimately prevail on the merits should these
claims go to trial.

For the reasons stated, we respectfully request that the Settlement Agreement be
conditionally approved, the proposed notice be ordered to be published, and the other provisions

of this Joint Motion be granted.

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 3 of 51

MEMORANDUM OF LAW
A. Introduction

To conclude the Settlement outline above as it pertains to the Court contained in this
action under the Migrant and Seasonal Agricultural Worker Protection Act, Rule 23(e) of
Fed.R.Civ.P. requires that there be notice to the Settlement Class, a fairness hearing, and this
Court’s approval. Before scheduling a fairness hearing and ordering notice to the Settlement
Class, this Court must be presented with a settlement that warrants implementing Rule 23(e)
procedures The purpose of obtaining preliminary approval "is to ascertain whether there is any
reason to notify the class members of the proposed settlement and proceed with the fairness
hearing.” Armstrong v. Bd. of School Directors, 616 F.Zd 305, 314 (7th Cir. 198()).

ln determining whether to preliminarily approve a class action settlement, the court
assesses whether there is “probable cause” to provide notice and hold a fairness hearing. lLr_e
Mid-Atlantic T_ovota Antitrust Litig., 564 F.Supp. 1379, 1385 (D.Md. 1983). An inquiry into the
ultimate fairness of the Settlement is not necessary at this point, since there will be a further
hearing at which the fairness of the Settlement will be addressed, after notice to the Settlement
Class. Consequently, even if there are aspects of a proposed class action settlement that raise
questions, they "should not derail the orderly workings of the settlement process at this point.”
I_CL at 1386. Preliminary approval should be denied only if there are apparent grounds to doubt
the fairness of the settlement, or other “obvious deficiencies,” none of which exist here, as
discussed below. Manuel for Complex Litig., §30.41 (3d ed. 1993). See also H. Newberg,
Newberg on Class Actions, §11.25 at ll-37 (3d ed. 1993) (settlement should be preliminarily
approved as long as it is within the range of possible judicial approval).

3

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 4 of 51

B. The Terms of the Settlement

Since the filing of the Complaint and Amended Complaint, the Plaintiffs and Defendant
Mecca have worked to resolve this matter. The Settlement Agreement reflects that the Defendant
Mecca has agreed to pay the Plaintiffs and putative Class members, from August 1997 to
November 2001, inclusive the sums designated'in the Settlement Agreement. These amounts
were based upon the amount of wages the Plaintiffs and their counsel believed may have been
owed to these farmworkers. ln exchange, the Plaintiffs and putative Class members agree to
voluntarily waive, release, and forever discharge Defendant Mecca for the claims alleged in the
Amended Complaint. An additional $25,000.()0 (“Charity Fund”) will be donated to a non-profit
social services which assists farmworkers and $200,000.00 will be paid to the Plaintiffs’ counsel
as attorneys fees and costs. The agreed upon Charity Fund and Attomey Fee Settlement Amount
in this action actually reflect a Joint Settlement Stipulation which encompasses the settlement of
a related case, Martinez v. Mecca Farms, Inc. The $200,000.00 Attomey Fee Settlement Amount
represents the total sum of the fees in the two cases.

The Settlement, which was reached after extensive arms-length negotiations between
counsel with the duty of vigorously representing their clients, clearly meets the standard for
preliminary approval. The dollar amount is, in and of itself, sufficient to meet the low threshold
requirement for preliminary approval. If the Settlement is approved, an excellent result will have
been achieved by the Plaintiffs, one that will provide Class members with a substantial recovery.

C. The Settlement Should be Preliminarily Approved as Fair,
Reasonable, and Adequate

Judicial approval of class action settlements requires a two-step process. ln the first step,

the court makes a preliminary decision as to whether the settlement falls “within the range of

4

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 5 of 51

possible judicial approval." H.Newberg, Newberg on Class Actions, §11.25 at 11-37 (3d ed.
1993). Once the settlement is found to be within the range of possible approval, a final approval
hearing is scheduled and notice is provided to the class. I_d_. The second step involves final
determination, following a hearing at which pertinent evidence and any objections by Class
members may be considered, whether the settlement is fair, reasonable, and adequate from the
standpoint of the class. _l$ at §11.41. On the instant Motion, the Court is presented with the
initial matter of preliminarily evaluating the Settlement,

ln Warren v. Citv of Tamp@, 693 F.Supp. 1051, 1054 (M.D. Fla. 1988), aff`d, 893 F.2d
347 ( 1 1th Cir. 1989), the district court described its review of class action settlements as follows:

The Court initially recognizes the principle that settlements are highly favored in

the law. Miller v. Republic Nat’l Life Ins. Co., 559 F.2d 426 (5th Cir. 1977). The

Court is required to make a two part determination that: 1) there is no fraud or

collusion in reaching settlement, and 2) the settlement is fair, adequate, and

reasonable Accord Benett v. Behrin@orp., 737 F.2d 983 (11'h Cir. 1984). The

evaluation of whether a settlement is fair, reasonable and adequate is committed

to the sound discretion of the trial court.

ML at 987. gee also Ex Parte First National Bank of Jasper, 1997 Ala. Lexis 475 at *7-8
(Ala. 1997) (Settlement classes “promote the strong policy favoring settlements.”).

ln making this determination, the trial court is entitled to rely upon the judgment of
experienced counsel for the parties Behrens v. Wometco, 118 F.R.D. 534,538 (S.D. Fla. 1988),
aff’d, 899 F.2d 21 (11th Cir. 1990). Moreover, there is a strong initial presumption that the
compromise is fair and reasonable ln re Chicken Antitrust Litig., 560 F.Supp. 998 (N.D. Ga.
1980), affd, 669 F.2d 228, 238. Accordingly, courts exercise restraint in examining proposed

settlements and recognize that settlements, by definition, are compromises that need not satisfy

every concern of the parties but may fall anywhere within a broad range of upper and lower

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 6 of 51

limits.

ln lieu of a more extended inquiry into the claims asserted, courts have concentrated on
the negotiating process by which the settlement was reached Weinberger v. Kendrick, 698 F.2d
61, 74 (2d Cir. 1982), corrected on other grounds on reh’g, [1982-1983 Transfer Binder]
Fed.Sec.L.Rep. (CCH) 1|90,074 (2d Cir.), cert. denied, 464 U.S. 818 (1983). The courts insist
that a settlement be the result of “arm’s length negotiations” effected by counsel possessing the
“experience and ability . . . necessary to effective representation of the class’ interests.”
Weinberger, 698 F.2d at 74 (citation omitted). Once counsel’s experience is established, courts
give such counsel’s “opinion . . . supporting the settlement . . . ‘considerable weight.”’ In_re
Saxon Sec. Litig., [1985-1986 Transfer Binder] Fed.Sec.L.Rep. (CCH) 1192,414 at 92,525
(S.D.N.Y. 1985). This is done because courts recognize that “the parties’ counsel are best able to
weigh the relative strengths and weaknesses of their arguments." l<_i_.

As discussed above, the Settlement was reached after extensive arms-length negotiations
between counsel. The negotiations included a mediation session with Judge Gerald
Wetherington (retired). As in the litigation itself, both sides aggressively presented their
positions, and the negotiations required continuous efforts over a number of months to bear fruit.
There was nothing collusive about any of the settlement negotiations or the ultimate agreement
reached. The Settlement Agreement is fully supported and recommended by counsel for all
parties There are no terms in the Settlement that militate against preliminary approval.

The Settlement will produce substantial benefits for the Class. Each class member will

receive $5.00 for every day worked during the time period alleged in the lawsuit. The value is

enhanced by the fact that it will be provided to Class members now, without the delay, burden,

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 7 of 51

and risks of continued litigation. Once this Court approves the Settlement Agreement, this
litigation should be concluded, with the exception of the administration and payment of the

settlement claims.

D. Conclusion

For the reasons set forth above, the Plaintiffs and Defendant Mecca jointly respectfully
request that this Court grant preliminary approval of the Settlement, preliminarily certify a
Settlement Class, and direct that Notice and Settlement Agreement be published in the forms
submitted with the Stipulation, in anticipation of a final fairness hearing to be held by the Court,
at which time the Court will determine whether the Settlement is fair, reasonable, and adequate,
and in the best interests of the putative Class.

Dared this 28"" day of February 2003.

Respectfully submitted,

 
   

  

//1 v
tlfleen D. Caron

Florida Bar No. 0468266

Gregory S. Schell

Florida Bar No. 287199

Lillian Hirales

Florida Bar No. 533777

Migrant Farmworker Justice Project
508 Lucerne Avenue

Lake Worth, FL 33460

Telephone: (561) 582-3921

7

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 8 of 51

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Florida Bar. No. 0056049

Email: hwulf@carltonfrelds.com

Attorneys for Mecca F arms

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and accurate copy of the foregoing has been hand
delivered to Don R. Boswell, Esq., Akers & Boswell, P.A., 2875 South Ocean Boulevard, Suite
200, Palm Beach, Florida, 33480, on the 3rd day of arch, 2})03.

   
 

 

athleen Caron

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 9 of 51

EXHIB!T B
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORlDA
WEST PALM BEACH DIVISION

Case No. 01-9013-CIV.-RYSKAMP
Magistrate Judge Vitunac

Luz-Carranza, e_t. a_l.,

individually and on behalf of

all others similarly situated,
Plaintiffs,

vs.

Mecca Farms, Inc., e_t. a_l.,

Defendants.
/

 

SUMMARY NOTICE OF PENDENCY OF ACTIONL
CLASS ACTION NGTICE. PROPOSED SETTLEMENT OF CLASS ACTION,
AND SETTLEMENT HEARING

ATTENTION: ALL PERSONS WHO HAVE WORKED WlTH THE FARM
LABOR CONTRACTORS ROY RODRIGUEZ-, MARIA SANCHEZ, OR M.
SANCHEZ & SON, INC. PLANTING, CULTIVATING, OR HARVESTING
VEGETABLES BETWEEN AUGUST l, 1997 AND NOVEMBER 19, 2001.

l. What is this Notice about?

This Notice is an official court notice to let you know about a "class action" lawsuit in
which you may be a class member if you have worked in the agricultural operations of
Mecca Farms, Inc. with the contractors Roy Rodriguez, Maria Sanchez, or M. Sanchez &
Son, Inc. between August l, 1997 and November 19, 2001. lt also describes a proposed
settlement of the lawsuit and how you may claim your share of the settlement, If you do
not think the settlement is fair, you can object, and this Notice will tell you how to make
such an objection. Finally, it also informs you of your rights if you do not want to be a
member of the class.

2. What is this "class action" lawsuit?

A "class action lawsuit" is a lawsuit in which a few people represent a large group of

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Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 10 of 51

people. They do that in an effort to resolve the similar legal claims of all the members of
the group at one time. Here, 8 workers (Delma Luz Carranza, Francelia Hernandez,
Virginia Perez, Carlos Ramos, Adolfo Perez, Gloria Roblero, David Matias, and Rafael
Gonzalez), have petitioned the court to represent “migrant and seasonal agricultural
workers furnished to Mecca Farms, lnc. by M. Sanchez & Son, Inc., Maria T. Sanchez, or
Rogerio T. Rodriguez from August 1997 through November 2001, inclusive.”

3. What is the lawsuit about?

The 8 workers who filed the lawsuit alleged that Mecca Farms, Inc. with the farm labor
contractors Roy Rodriguez, Maria Sanchez, and M. Sanchez & Son, Inc. violated certain
provisions of the federal Migrant and Seasonal Agricultural Worker Protection Act and
the Fair Labor Standards Act. The lawsuit alleged that Mecca and the contractors failed
to pay the workers the minimum wage ($5.15) for all the hours worked by, among other
things failing to pay for all the buckets of produce picked and making unlawful
deductions from the workers pay from August 1997 through November 2001. In
addition, the suit alleges that Mecca and the contractors failed to maintain accurate
payroll records and did not provide the workers with correct information on their wage
statements The Court has not decided whether the workers are correct on these claims
Mecca and the contractors deny any liability for these claims and any wrongdoing

4. What is the status of the lawsuit'?

After negotiating, the workers, Mecca Farrns, Inc., Roy Rodriguez, Maria Sanchez, and
1\/1. Sanchez & Son, Inc. agreed to a proposed settlement of the lawsuit. Your rights
could be affected by this settlement so you should read this Notice carefully to
decide Whether you Want to be part of the class and you think the settlement is fair.

5. Class Certified for Purposes of Settlement Onlv

Solely for the purposes of this settlement, Mecca and the contractors have consented to
the certification of the class, as defined above. This means that the 8 workers that
brought the suit are representing, in the settlement agreement, the interests of thousands
of workers who worked on Mecca Farms’ operations with crews headed by Roy
Rodriguez, Maria Sanchez, and M. Sanchez & Son, Inc. between August 1997 and
November 2001 .

6. What are the terms of the proposed settlement?

If the Court approves the settlement that has been proposed, workers who file claims will
share in an Unlimited Joint Class Settlement fund. The fund is a joint fund because there
is another class action lawsuit being settled against Mecca Farms and the contractors who
furnish workers to its packing house operations
7. What will workers get under the settlement?

All workers who were employed by Roy Rodriguez, Maria Sanchez, or M. Sanchez &

2

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 11 of 51

Son, Inc., to work on the agricultural operations of Mecca between August 1997 through
November 2001 will be eligible to share in the settlement fund. Each eligible worker will
receive $5.00 per day for work in the fields lf there is verifiable proof that the social
security (FICA) taxes were paid for every day worked, the claimant will receive 50% less
per day than otherwise provided for. The worker will also have provide identification
and proof of employment with the Defendants.

8. Who else gets money from the settlement?

ln addition, Twenty Five Thousand Dollars ($25,000.00) will be donated to one or more
non-profit social service agencies which serve farmworkers in Martin County or Palm
Beach County. Mecca Fanns is also paying the Florida Legal Services Migrant
Farmworker Justice Project, the lawyers for the workers in this case an additional
$200,000.00 to pay the costs and fees they incurred to bring the two cases (for the field
workers and the packing house workers). The $200,000.00 is separate from and in
addition to what the workers will receive.

9. What are mv rights as a member of the "class"?

As a member of the class, you have the right to receive money from the settlement By
receiving the money you are also giving up your rights to bring a separate claim against
Mecca Farms, Inc., Roy Rodriguez, Maria Sanchez, or M. Sanchez & Son, lnc. for having
violated the specific rights which are alleged in the lawsuit during the time period of
August 1997 through November 2001.

10. How do l make a claim as a class member?
TO CLAIM YOUR CLASS MONEY YOU MUST:

FILL OUT A CLAIM FORM BEFORE FEBRUARY 1L 2004. TO OBTAIN A
CLAIM FORM CALL FLORIDA LEGAL SERVICES FARMWORKER
JUSTICE PROJECT AT 1-800-277-7447 OR GO TO ITS OFFICE AT 508
LUCERNE AVENUE, LAKE WORTH, FLORIDA 33460 MONDAY THROUGH
FRIDAY BETWEEN 8:30 AM AND 5:00 PM.

If you fail to make a claim and you do not “opt-out” as described in paragraph 1 1, you are
giving up your rights to ever bring an action against Mecca Farms, Inc., Roy Rodriguez,
Maria Sanchez, or M. Sanchez & Son, Inc. for the claims alleged in the lawsuit.

ll. How do 1 opt-out of this class action?

lf you do NOT want to participate in the class action, you have the right to be excluded
from the class and not receive any money from the settlement, lf you choose to be
excluded from the class, you will NEVER be able to make any claim for this settlement
money; however, you may have the right to bring your own lawsuit against Mecca Farms,
Inc., Roy Rodriguez, Maria Sanchez, or M. Sanchez & Son, lnc. within the time period
allowed under the law for the claims alleged in the lawsuit. You must opt-out before

3

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 12 of 51

July 1, 2003. lf you fail to opt-out by July 1, 2003, you are giving up your right to be
excluded from the class, which means that you can not bring a separate law suit for the
same claims alleged in the current law suit for the time period of August 1997 through
November 2001. If you fail to opt-out you will be bound by the settlement agreement
and are eligible to file a claim for the settlement money. To be excluded from the class
action you must call the Florida Legal Services Farmworker Justice Project at 1-800-277-
7447 or go to its office at 508 Lucerne Avenue, Lake Worth, Florida 33460 Monday
through Friday between 8:30 PM and 5:00 PM to fill out a form stating your desire to be
excluded from the class lf you choose to “opt-out” of the class action, you should
consult a lawyer as to your rights

12. What if l think the settlement agreement is unfair?

There will be a hearing before Judge Kenneth Ryskamp at on , 2003, at
the United States Courthouse, 701 Clematis Street, West Palm Beach, Florida 33401 to
decide whether the settlement is fair, reasonable and adequate. lf you want to object to
the settlement you must file your objection with the Clerk of the Court before

2003. lf you do write the Cler',k at the United States Courthouse, 701 Clematis Street:
West Palm Beach, Florida 33401 you should include rn your letter the name of the case
(Carranza v. Mecca Farms. Inc.) and the case number (01-9013). You must also send a
copy of your objections to Henry Wulf, Esq., Carlton Fields, 222 Lakeview Avenue,
Suite 1400, West Palm Beach, FL 33401. one of the attorneys for Mecca. This hearing
will be your only opportunity to object to the terms of the settlement,

You do n_ot have to be present at the hearing to receive your class share of the
settlement money. If you fill out the form claiming your share of the settlement, you
will receive your class share, provided the settlement is approved.

13. For further informations

lf you have questions about the settlement, need help understanding this Notice, or wish
to obtain a complete copy of the Settlement Agreement you can contact the lawyers for
the workers who brought the lawsuit by writing or calling:

Florida Legal Services

Migrant Farmworker Justice Project
508 Lucerne Avenue

Lake Worth, FL 33460

Telephone: 1-800-277-7447

DO NOT CALL THE COURT OR THE CLERK OF THE COURT

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 13 of 51

EXHIBIT C

UNlTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.01-9096-Civ. Middlebrooks/Bandstra
Carmelina Martinez, e_t a_l.,
individually and on behalf of
all others similarly situated,
Plaintiffs,
vs

Mecca Farms, Inc., e_t a_l.,

Defendants.
/

 

SUMMARY NOTICE OF PENDENCY OF ACTION,
CLASS ACTION DETERMINATION AND NOTICE;
PROPOSED SETTLEMENT OF CLASS ACTION. AND SETTLEMENT HEARING

ATTENTION: ALL PERS()NS WHO HAVE WORKED FOR MARIA MEDRANO OR
CANDIDO MUNOZ IN PACKING HOUSES IN LANTANA, FLORIDA PACKING
VEGETABLES BETWEEN OCTOBER l, 1996 AND MARCH 1, 2002.

1. What is this Notice about?

This Notice is an official court notice to let you know about a "class action" lawsuit in which you
may be a class member if you have worked in packing houses in Lantana, Flori da for Maria Medrano
or Candido Munoz packing vegetables between October l, 1996 and March 1, 2002. lt also
describes a proposed settlement of the lawsuit and how you may claim your share of the settlement.
lf you do not think the settlement is fair, you can object, and this Notice will tell you how to make
such an objection. Finally, it also informs you of your rights if you do not want to be a member of
the class

2. What is this "class action" lawsuit?

A "class action lawsuit" is a lawsuit in which a few people represent a large group of people. They
do that in an effort to resolve the similar legal claims of all the members of the group at one time.
Here, the court has granted permission to 4 workers (Carmelina Martinez, Maria Ester Escobar

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 14 of 51

Torres, Maria lose Alarcon, and Luis Roca), to represent two classes consisting of “all migrant
agricultural workers employed or jointly employed by Defendant Mecca Farms, Inc., in Mecca
Fanns’ tomato packing house from October 1996 through March 2002, inclusive” and “all migrant
agricultural workers employed or jointly employed by Defendant Mecca Farms, Inc., in Mecca
Farms’ pepper packing house from October 1996 through March 2002, inclusive.”

3. What is the lawsuit about?

The 4 workers who filed the lawsuit alleged that Mecca Farms, Inc. with the farm labor contractors
Maria Medrano, Medrano Harvesting & Packing, Inc., Candido Munoz, A-Z Grading & Packing,
Inc., Candido Packing, Inc., and Candido Munoz, Inc. violated certain provisions of the federal
Migrant and Seasonal Agricultural Worker Protection Act and the F air Labor Standards Act. The
lawsuit alleged that Mecca and the contractors failed to pay the workers the minimum wage ($5.15
and hour) for all the hours worked and overtime wages for the hours worked over forty hours in a
work week from October 1996 through March 2002, ln addition, the suit alleges that Mecca and the
contractors failed to maintain accurate payroll records and did not provide the workers with correct
information on their wage statements The Court has not decided whether the workers are correct
on these claims Mecca and the contractors deny any liability for these claims and any wrongdoing

4. What is the status of the lawsuit?

After negotiating, the workers, Mecca Farms, lnc., Maria Medrano, Medrano Harvesting & Packing,
lnc., Candido Munoz, A-Z Grading & Packing, Inc., Candido Packing, Inc., and Candido Munoz,
Inc. agreed to a proposed settlement of the lawsuit. Your rights could be affected by this
settlement so you should read this Notice carefully to decide whether you want to be part of
the class and you think the settlement is fair.

5. What are the terms of the proposed settlement?

If the Court approves the settlement that has been proposed, workers who file claims will share in
an Unlimited Joint Class Settlement fund. 'l` he fund is a joint fund because there is another class
action lawsuit being settled against Mecca Farms for the workers who cultivated and harvested
vegetables on Mecca’s operations with the contractors Roy Rodriguez, Maria Sanchez, and M.
Sanchez & Son, Inc. between August l, 1997 and November 19, 2001.

6. What will workers get under the settlement?

All workers who were employed by Maria Medrano, Medrano Harvesting & Packing, Inc.,
Candido l\/Iunoz, A-Z Grading & Packing, Inc., Candido Packing, Inc., or Candido Munoz, Inc. to
work in Mecca Farms’ packing houses between August 1997 and March 2002 may be eligible to
share in the settlement fund. Each eligible worker will receive 84.00 per day for work in the Tomato
Packing House and $3.00 per day for work in the Pepper Packing House. lf there is verifiable proof
that the social security (FICA) taxes were paid for every day worked, the claimant will receive 50%
less per day than otherwise provided for. The worker will also have provide identification and proof
of employment with the Defendants.

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Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 15 of 51

7. Who elsr;gets money from the settlement?

ln addition, Twenty Five Thousand Dollars ($25,000.00) will be donated to one or more non-profit
social service agencies which serve farmworkers in Martin County or Palm Beach County. Mecca
Farms is also paying the Florida Legal Services Migrant Farmworker Justice Project, the lawyers
for the workers in this case an additional $200,000.00 to pay the costs and fees they incurred to bring
the two cases (for the field workers and the packing house workers). The 8200,000.00 is separate
from and in addition to what the workers will receive.

8. What are my rights as a member of the "class"?

As a member of the class you are eligible to receive money from the settlement. By receiving the
money you are also giving up your rights to bring a separate claim against Mecca Farms, Inc., Maria
Medrano, Medrano Harvesting & Packing, lnc., Candido Munoz, A-Z Grading & Packing, Inc.,
Candido Packing, Inc., or Candido Munoz, Inc. for having violated the specific laws which are
alleged in the lawsuit during the time period from October 1996 through March 2002.

9. How do l make a claim as a class member?
TO CLAIM YOUR CLASS MONEY YOU MUST:

FILL OUT A CLAIM FORM BEFORE FEBRUARY 1. 2004. TO OBTAIN A CLAIM FORM
CALL FLORIDA LEGAL SERVICES FARMWORKERJUSTICE PROJECT AT 1-800-277-
7447 OR GO TO ITS OFFICE AT 508 LUCERNE AVENUE, LAKE WORTH, FLORIDA
33460 MONDAY THROUGH FRIDAY BETWEEN 8:30 AM AND 5:00 PM.

If you fail to make a claim and you do not “opt-out” as described in paragraph 10, you are giving
up your rights to ever bring an action against Mecca Farms, Inc., Maria Medrano, Medrano
Harvesting & Packing, Inc., Candido Munoz, A-Z Grading & Packing, Inc., Candido Packing, lnc.,
or Candido Munoz, Inc. for the claims alleged in the lawsuit which occurred between October 1996
through March 2002,

10. How do l opt-out of this class action?

lf you do NOT want to participate in the class action, you have the right to be excluded from the
class and not receive any money from the settlement. If you choose to be excluded from the class,
you will NEVER be able to make any claim for this settlement money; however, you may have the
right to bring your own lawsuit against Mecca Farms, Inc., Maria Medrano, Medrano Harvesting
& Packing, Inc., Candido Munoz, A-Z Grading & Packing, Inc., Candido Packing, Inc., or Candido
Munoz, Inc. within the time period allowed under the law for the claims alleged in the lawsuit. If
you decide to opt-out, you must do so before July l, 2003. Ifyou fail to opt-out by July l, 2003,
you are giving up your right to be excluded from the class, which means that you can not bring a
separate law suit for the same claims alleged in the current law suit for the time period of October
1996 through March 2002, lf you fail to opt-out you will be bound by the settlement agreement and
are eligible to file a claim for the settlement money. To be excluded from the class action you must
call the Florida Legal Services Farmworker Justice Project at 1-800-277-7447 or go to its office at

3

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 16 of 51

508 Lucerne Avenue, Lake Worth, Florida 33460 Monday through Friday between 8:30 PM and
5:00 PM to fill out a form stating your desire to be excluded from the class lf you choose to “opt-
out” of the class action, you should consult a lawyer as to your rights

ll. What if l think the settlement agreement is unfair?

There will be a hearing before Judge Donald Middlebrooks at on , 2003, at the
United States Courthouse, 701 Clematis Street, West Palm Beach, Florida 33401 to decide whether
the settlement is fair, reasonable and adequate lf you want to object to the settlement you must file
your objection with the Clerk of the Court before , 2003. lf you do write the Clerk at the
United States Courthouse, 701 Clematis Street, West Palm Beach, Florida 33401, you should
include in your letter the name of the case ('Martinez v. Mecca Farmstlnc.) and the case number (01-
9096). You must also send a copy of your objections to Henry Wulf, Esq., Carlton Fields, 222
Lakeview Avenue, Suite 1400, West Palm Beach, FL 33401, one of the attorneys for Mecca. This
hearing will be your only opportunity to object to the terms of the settlement.

You do n_o_t have to be present at the hearing to receive your class share of the settlement
money. If you fill out the form claiming your share of the settlement, you will receive your
class share, provided the settlement is approved.

12. For further inforrnation:
lf you have questions about the settlement, need help understanding this Notice, or wish to obtain
a complete copy of the Settlement Agreement you can contact the lawyers for the workers who
brought the lawsuit by writing or calling:

Florida Legal Services

Migrant Farmworker Justice Project

508 Lucerne Avenue

Lake Worth, FL 33460

Telephone: 1-800-277-7447

DO NOT CALL THE COURT OR THE CLERK OF THE COURT

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 17 of 51

EXHIBIT D

FlELD CLASS RADIO NOTICE - Carranza v. Mecca Farms;lnc

Attention all persons who have worked in the fields with the contractors Roy Rodriguez, Maria
Sanchez, or M. Sanchez & Son, Inc., If you worked cultivating and harvesting vegetables
between 1997 and 2001 you may be eligible to claim money in a lawsuit filed against the
contractors and the farm.

ln the lawsuit, the workers are claiming that they were not paid the minimum wage because,
among other things they were not paid for all the buckets of produce they picked and were
subject to unlawful deductions

lf you want to claim money from this case against Roy Rodriguez, Maria Sanchez, and the farm
where they worked, call Florida Legal Services at 1-800-277-7447 or go to its office at 508
Lucerne Avenue, Lake Worth, Florida. You should also contact Florida Legal Services at 1-800-
277-7447 if you want to know more about the settlement or do not want to be part of the case
The call, 1-800-277-7447, is toll free

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 18 of 51

EXHIBIT E
PACKING HOUSE CLASS RADIO NOTICE - Martinez v. Mecca Farms, lnc.

Attention all persons who have worked for Maria Medrano and Candido Munoz in packing
houses in Lantana, Florida between 1997 and 2002; you may be eligible to claim money in a
lawsuit filed against the company. The packing house workers are claiming that they were not
paid for all the hours worked or for overtime pay.

lf you want to claim money from this case against Maria Medrano and Candido Munoz for
packing vegetables at packing houses in Lantana, Florida, call Florida Legal Services at 1-800-
277-7447 or go to its office at 508 Lucerne Avenue, Lake Worth, Florida. You should also
contact Florida Legal Services at 1-800-277-7447 if you want to know more about the settlement
or do not want to be part of the case. The call, 1-800-277-7447, is toll free

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 19 of 51
EXHIBIT "F"

STIPULATION OF PROPOSED JOlNT SETTLEMENT AGREEMENT IN
DELMA LUZ CARRANZA, ET AL. V. MECCA FARMS, INC. ET AL. AND
CARMELINA MARTINEZ. ET AL. V. MECCA FARMS. INC. ET AL..

WHEREAS, Delma Luz Carranza, Francelia Hemandez, Virginia Perez, Carlos Ramos,
Adolfo Perez, Gloria Roblero, David Matias and Rafael Gonzalez (hereinalter “Field Class
Representatives”), on behalf of themselves and other similarly situated, have presented claims in the
matter more generally known as Delma Luz Carrama et al. v. Mecca Farms, Inc. et al., United States
District Court, Southem District of Florida, Case No. 01-9013-C1V-RYSKAMP (the “Field Case”),
against Mecca Farms, Inc. (“Mecca Farms”), and M. Sanchez & Son, Inc., Maria T. Sanchez, and
Rogerio T. Rodriguez (collectively, the “Field FLC Defendants”), alleging violations of the Migrant
and Seasonal Agricultural Worker Protection Act, 29 U.S.C. §§ 1801 -1 872 (1999) (“AWPA”),
arising from work performed on property owned or controlled by Mecca F arms during the 1997-98,
1998-99, 1999-2000, 2000-01, and 2001-02 South Florida vegetable harvest seasons

WHEREAS, the Field Class Representatives, on behalf of themselves alone, have presented
claims in the Field Case against Mecca Farms and the Field FLC Defendants alleging violations of
the Fair Labor Standards Act, 29 U.S. C. §§ 201-219 (1998) (“FLSA”), arising from work performed
on property owned or controlled by Mecca F arms during the 1997-98, 1998-99, 1999-2000, 2000-01,
and 2001 -02 South Florida vegetable harvest seasons

WHEREAS, Gloria Roblero, David Matias and Rafael Gonzalez (the “Field Accident
Plaintiffs”), on behalf of themselves alone, have presented claims in the Field Case against Mecca
F arms and the Field FLC Defendants alleging violations under AWPA arising from an accident on
Apri125, 2001.

WHEREAS, Carmelina Maltinez, Jorgelia Velasquez, Maria Ester Escobar Torres, Maria

wPB#562103.3 1

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 20 of 51

Jose Alarcon, and Luis Roca (hereinafter the “Packing House Class Representatives”), on behalf of
themselves and others similarly situated, have presented claims in the matter more generally known
as Carmelina Martinez, et al. v. Mecca Farms, Inc. et al., United States District Court, Southem
District of F lorida, Case No. 01-9096-CIV-MIDDLEBROOKS (the “Packing House Case”), against
Mecca Farms and Medrano Harvesting & Packing, Inc., Maria Medrano, Candido Munoz, Inc., A-Z
Grading & Packing, Inc., Candido Packing, Inc. and Candido Munoz (collectively, the “Packing
House FLC Defendants”), alleging violations of the AWPA arising from work performed at the
tomato and pepper packing houses owned by Mecca Farms during the 1996-97, 1997-98, 1998-1999,
1999-2000, 2000-01 and 2001-02 South Florida vegetable harvest seasons

WHEREAS, the Packing House Class Representatives, on behalf of themselves alone, have
presented claims in the Packing House Case against Mecca Farms and the Packing House FLC
Defendants alleging violations of the FLSA arising from arising from work performed at the tomato
and pepper packing houses owned by Mecca Farms during the 1996-97, 1997-98, 1998-1999, 1999-
2000 , 2000-01 and 2001-02 South Florida vegetable harvest seasons

WHEREAS, Mecca Farms, by its Answers and in other pleadings, denies and continues to
deny all allegations that: (1) the AWPA or FLSA rights of the Field Class Representatives, the Field
Accident Plaintiffs, the Packing House Representatives, the Field Class Members, or the Packing
House Class Members were breached by the Field FLC Defendants or the Packing House FLC
Defendants, (2) Mecca F arms was an employer or joint employer of the Field Class Representatives,
the Field Accident Plaintiffs, the Packing House Representatives, the Field Class Members, or the
Packing House Class Members alone or with any other entity or individual, (3) Mecca Farms was
responsible or liable for any actions of the Field FLC Defendants or the Packing House FLC

Defendants, and (4) that some or all of the claims raised in the Field Case and Packing House Case

wPB#562103.3 2

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 21 of 51

were filed within the applicable statute of limitations period.

WHEREAS, from December, 2001 to the present, the Field Class Representatives the Field
Accident Plaintiffs, and the Packing House Representatives through Class Counsel, have conducted
a thorough investigation of the facts relating to the allegations made in the Complaints in the Field
Case and the Packing House Case; engaged in extensive document and written discovery from
Defendants, inspection of publicly available documents from other cases, and the taking or oral
depositions; and conducted statistical and damage analyses

WHEREAS, the Field Class Representatives have sought to certify a class in the Field Case
which, for the purposes of this Agreement only, Mecca Farms is willing to stipulate to those
individuals being certified as a class The Field Class Representatives have sought to certify a class
consisting of:

All migrant and seasonal agricultural workers fumished to Mecca Farms, lnc.
by M. Sanchez & Son, Inc., Maria T. Sanchez, or Rogerio T. Rodriguez from
August 1997 through November 2001 , inclusive
WHEREAS, the Court in the Packing House Case, on or about November 25, 2002, entered
the Order Granting Plaintiffs’ Motion for Class Certification and certified two classes consisting of:
A11 migrant agricultural workers employed or jointly employed by Defendants
Mecca Farms, Inc. in Mecca Fanns’ tomato packing house from October
1996 through March 2002, inclusive
_a_nd_
All migrant agricultural workers employed or jointly employed by Defendants
Mecca Farms, Inc. in Mecca Farms’ pepper packing house from October
1996 through March 2002, inclusive
WHEREAS, the Field Class Representatives, Field Accident Plaintiffs, and Mecca Farms

have considered the expense and length of time necessary to prosecute the Field Case (including trial

and potential time-consuming appeals), the uncertainties of the outcome of complex litigation, and

wPB#562103.3 3

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 22 of 51

the substantial benefit provided by this Agreement to the Field Class Representatives the Field Class
Members and the Field Accident Plaintiffs

WHEREAS, the Packing House Class Representatives and Mecca F arms have considered
the expense and length of time necessary to prosecute the Packing House Case (including trial and
potential time-consuming appeals), the uncertainties of the outcome of complex litigation, and the
substantial benefit provided by this Agreement to the Packing House Class Representatives and the
Packing House Class Members.

WHEREAS, alter extensive negotiations between and among the Parties and counsel, with
the help of a skilled mediator, and based upon Class Counsel’s full review of the materials and
information compiled in this case, the Field Class Representatives the Field Accident Plaintiffs, and
their counsel have concluded, in light of, among other things, governing law, the facts of this case,
and the mediator’ s evaluations and recommendations that the Agreement provided for herein is fair,
reasonable, and adequate and in the best interests of the Field Class Representatives the Field
Accident Plaintiffs and the Field Class Members, especially given the risks and uncertainties of
protracted litigation,

WHEREAS, after extensive negotiations between and among the Parties and counsel, with
the help of a skilled mediator, and based upon Class Counsel’s full review of the materials and
information compiled in this case, the Packing House Field Class Representatives and their counsel
have concluded, in light of, among other things, governing law, the facts of this case, and the
mediator’s evaluations and recommendations that the Agreement provided for herein is fair,
reasonable, and adequate and in the best interests of the Packing House Class Representatives and
the Packing House Class Members, especially given the risks and uncertainties of protracted

litigation.

wPB#562103.3 4

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 23 of 51

WHEREAS, the Court in the Field Case and the Court in the Packing House Case have not
ruled on any of the substantive contentions of the parties regarding liability or expressed any opinion
thereto.

NOW, THEREFORE, it is stipulated and agreed by and among the Field Class
Representatives the Field Accident Plaintiffs, the Packing House Class Representatives and Mecca
F arms that the Field Case and the Packing House Case shall be settled and compromised, subject to
Court approval, upon the terms and conditions set forth in this Stipulation of Proposed Joint

Settlement Agreement (the “Agreement”).

I. JURISDICTION AND GOVERNING LAW
The Parties to this Agreement agree that the Court has jurisdiction over the Parties, including
the Field Class Members and the Packing House Class Members, and the subject matter of the Field
Case and the Packing House Case, that venue is proper in this district, and that any proceeding with
respect to the Agreement or its enforcement must be raised in the same Court. The Parties further
agree that the interpretation and enforcement of this Agreement shall be governed by the laws of the

State of Florida.

II. NO ADMISSION OF LlABlLITY
Mecca Farms, vigorously denies liability in the Field Case and the Packing House Case
Mecca Farms has denied and continues to deny any legal liability arising out of any of the claims in
the Field Case and the Packing House Case, strongly believes that all of their defenses in those
actions are valid, expressly denies having engaged in any wrongful or illegal activity, and expressly
denies that any joint employment relationship existed between Mecca Farms and the Field FLC

Defendants, the Packing House FLC Defendants, the Field Class Representatives, the Field Accident

wPB#562103.3 5

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 24 of 51

Plaintiffs, the Field Class Members, the Packing House Class Representatives or the Packing House
Class Members. The Court has made no findings that Mecca Farms violated AWPA or FLSA, or of
any other federal, state, or local law, regulation, order, or rule regarding employment activities
Mecca Farms believes that it would prevail if the lawsuits were ultimately tried. In recognition,
however, of the risk, cost, and inconvenience involved in defending protracted litigation of this Sort,
Mecca F arms agreed to the terms of the Agreement solely as a matter of businessjudgrnent in order
to obtain a quick and efficient resolution of this dispute, and to permit Mecca Farms to continue
operation of its business unhindered by the further distractions and diversion of personnel that this
action would cause

Mecca Farms, therefore, specifically relies on the provisions in this document that neither this
Agreement, the negotiations and discussions relating hereto, nor any act performed or document
prepared pursuant to or in furtherance of this Agreement, shall be construed as, deemed to be, or
used as an admission or concession of any fault, liability, wrongdoing, or damages, that the claims of
the Field Class Representatives Field Accident Plaintiffs, Field Class Members, Packing House
Class Representatives and Packing House Class Members have any validity or that Mecca Farms is a
joint employer of or with the Field FLC Defendants, Packing House FLC Defendants, the Field Class
Representatives, the Field Accident Plaintiffs, the Field Class Members, the Packing House Class
Representatives or the Packing House Class Members. Other than such proceedings as may be
necessary to consummate or enforce this Agreement, no evidence of this Agreement or any of the
acts released as a consequence of this Agreement shall be offered or admitted or otherwise used for
any purpose in this or any other proceeding, provided that this Agreement and the Final Judgment
and related Exhibits may be filed and used in any action brought against any of the Released Persons

to support a defense, clairn, or counterclaim of the Released Persons of res judicata, collateral

wPB#562103.3 6

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 25 of 51

estoppel, issue preclusion, or the like based on this Agreement

III. DEFINITIONS

As used herein, the following terms shall have the following meanings:

A. The term “Agreement” shall refer to this Stipulation of Proposed Joint Settlement
Agreement in its entirety, including whereas clauses and headings and including all the Exhibits
annexed hereto.

B. The term “Court” shall refer to the respective divisions and judges of the United
States District Court, Southem District of Florida which has jurisdiction over the Field Case and the
Packing House Case.

C. The term “Fairness Hearing” shall refer to the hearing to be held by the Court to
consider approval of this Agreement pursuant to Federal Rule of Civil Procedure 23(e).

D. The term “Field Accident Plaintifi`s” shall refer to Gloria Roblero, David Matias and
Rafael Gonzalez.

E. The term “Field Case” shall refer to the lawsuit more generally known as Delma Luz
Carranza et al. v. Mecca F arms Inc. et al., United States District Court, Southem District of F lorida,
Case No. 01 -901 3-CIV-RYSKAMP.

 

F. The term the “Field Class Members” shall refer to those persons who are members of
the Field Settlement Class.
G. The term “Field Class Representatives” shall refer to Delma Luz Carranza, Francelia

Hemandez, Virginia Perez, Carlos Ramos, Adolf`o Perez, Gloria Roblero, David Matias and Rafael
Gonzalez.

H. The term “Field FLC Defendants” shall refer to M. Sanchez & Son, Inc., Maria T.
Sanchez and Rogerio T. Rodriguez.

I. The term “Field Settlement Class” shall refer to all individuals who fall within the
criteria set forth in Section V(E)(l).

J. The term “Legal Services” or “Class Counsel” shall refer to the Florida Legal
Services, Inc. Migrant Farmworker Justice Project, the attorneys for the Plaintiffs in both Delma Luz
Carranza et al. v. Mecca Farms, Inc. et al. and Carmelina Martinez, et al. v. Mecca Farms, lnc. et al..

K. The term “Amended Complaints” refer to the Amended Complaints filed in the Field
Case and the Packing House Case.

L. The term “Packing House Case” shall refer to the lawsuit more generally known as
Carmelina Martinez, et al. v. Mecca Farms, Inc. et al.` United States District Court, Southem District
of Florida, Case No. 01 -9096-CIV-M]DDLEBROOKS.

wPB#562103.3 7

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 26 of 51

M. The term “Packing House Class Members” shall refer to those persons who are
members of the Packing House Settlement Class, as certified by the Court in Carmelina Martinez et
al. v. Mecca Farms, Inc. et al.

 

N. The term “Packing House Class Representatives” shall refer to Carmelina Martinez,
Jorgelia Velasquez, Maria Ester Escobar Torres, Maria Jose Alarcon, and Luis Roca.

O. The term “Packing House FLC Defendants” shall refer to Medrano Harvesting &
Packing, Inc., Maria Medrano, Candido Munoz, Inc., A-Z Grading & Packing, Inc., Candido
Packing, Inc. and Candido Munoz.

P. The term “Packing House Settlement Class” shall refer to all individuals who fall
within the criteria set forth in Section V(E)(2).

Q. The term “Parties” shall refer to the Field Class Representatives the Field Accident
Plaintiffs, the Packing House Class Representatives, and Mecca Farms collectively.

R. The term “Prelirninary Approval Date” is the date on which the Court enters its order
granting its preliminary approval of the settlement and authorizes notice of the proposed settlement
to be sent to Field Settlement Class or Packing House Settlement Class.

S. The term “Released Persons” means Mecca Farms and related entities and persons
who by this Agreement will be released from any liability, as set forth in Section IV, below.

T. The term “Settlement Effective Date” shall refer to the date on which the Agreement
shall be considered final, which is the first business day on which the Final Judgment and Order
entered pursuant to this Agreement has been entered and is in effect and can no longer be withdrawn,
rescinded, vacated, reversed, or modified on appeal.

IV. SCOPE OF SETTLEMENT AND RELEASE OF CLAlMS

The negotiation and entry of this Agreement have been undertaken by the Parties for the
purpose of effectuating a full, fmal, and complete resolution of all AWPA and FLSA claims alleged
by the Field Class Representatives the Field Accident Plaintiffs, the Field Class Members, the
Packing House Representatives and the Packing House Class Members in the Amended Complaints
for the time period specified in said Amended Complaints. The Field Class Representatives the
Field Accident Plaintiffs, the Field Class Members, the Packing House Representatives and the

Packing House Class Members hereby release Mecca F arms from any and all such claims alleged in

the Amended Complaints for the time period specified in said Amended Complaints.

wr>B#5621033 8

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 27 of 51

On the Settlement Effective Date, the Field Class Representatives the Field Accident
Plaintiffs the Field Class Members, the Packing House Representatives and the Packing House
Class Members, both individually and as a class for themselves their attomeys spouses children,
executors representatives heirs successors and assigns or any other persons who could claim
through them, in consideration of the relief set forth herein, the sufficiency of which is expressly
acknowledged, shall be deemed to have, and by operation of the Final Judgment and Order, shall
have fully and finally released and forever discharged Mecca Farms, its parents affiliated or
subsidiary companies and its insurers as well as each of its respective present, former or future
officers directors shareholders agents employees representatives consultants attomeys
successors and assigns and its respective pension, profit-sharing, savings and other employee benefit
plans of any nature, and those plans’ fiduciaries representatives trustees and administrators (the
“Released Persons”) from all such claims alleged in the Amended Complaints

The Field Class Representatives the Field Accident Plaintiffs the Field Class Members, the
Packing House Representatives and the Packing House Class Members specifically confirm by their
execution of this Agreement that they have fully and irrevocably dismissed their individual claims for
compensatory and statutory damages as alleged in the Amended Complaints with prejudice

This Agreement also resolves and the Field Class Representatives the Field Accident
Plaintiffs the Field Class Members, the Packing House Representatives and the Packing House
Class Members hereby release the Released Persons from any and all claims by the Field Class
Representatives the Field Accident Plaintiffs the Field Class Members, the Packing House
Representatives and the Packing House Class Members for costs and attomeys’ fees including but
not limited to expert witness fees and including claims for costs attomeys’ fees and expert witness

fees incurred in connection with the negotiation, execution, irnplementation, and administration of

wPB#562103.3 9

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 28 of 51

this Agreement and/or any settlement fund and administration and distribution of the Settlement
Amount, except as described in section VII. This Agreement also resolves and the Field Class
Representatives the Field Accident Plaintiffs the Field Class Members, the Packing House
Representatives and the Packing House Class Members hereby release the Released Persons from,
any and all claims by the Field Class Representatives the Field Accident Plaintiffs the Field Class
Members, the Packing House Representatives and the Packing House Class Members for any tax

liability that may arise from the amounts paid to them under this Agreement.

V. MONETARY RELIEF. DISTRlBUTION,AND NOTICE

A. Settlement Amount

1. Unlirnited Joint Settlement Amount.

In consideration of the releases promises and representations made by the Field Class
Representatives the Field Accident Plaintiffs the Field Class Members, the Packing House
Representatives and the Packing House Class Members and Legal Services in this Agreement,
Mecca F arms agrees to pay, in accordance with the other provisions of this Agreement, all eligible
claims of the Field Settlement Class Members and the Packing House Settlement Class Members
with no overall cap as to the total monetary sum (the “Unlirnited Joint Settlement Amount”).

2. Charig Fund.

Additionally, Mecca Farms agrees to pay Legal Services Twenty Five Thousand Dollars
($25,000.00) (“Charity Fund”) to donate to one or more non-profit social service agencies which
serve farmworkers in Martin County or Pahn Beach County. The selection of the non-profit social
service agencies and the total monetary sum of each contribution shall be within the sole discretion
of Class Counsel. The Charity Fund shall be paid in full to Legal Services within thirty (30) days of

the end of the Claims Period.

wPB#562103.3 1 0

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 29 of 51

B. Class Monetary Distribution
1. Eligibility for Distribution from the Unlirnited Joint Settlement Fund in Field Case
Eligibility for payments from the Unlimited Joint Settlement Fund in the Field Case shall be
in accordance with the following. To be a member of the Field Settlement Class and thereby qualify
for a distribution from the Joint Settlement Fund, an individual must:
(i) be migrant or seasonal agricultural worker firmished to Mecca F arms

by M. Sanchez & Son, Inc., Maria T. Sanchez, or Rogerio T.
Rodriguez from August 1997 through November 2001 , inclusive; and

(ii) who did not opt out of the class

2. Eligibility for Distribution from the Unlirnited Joint Settlement Fund in the
Packing House Case

Eligibility for payments nom the Unlimited Joint Settlement Fund in the Packing House Case
shall be in accordance with the following. To be a member of the Packing House Settlement Class
and thereby quality for a distribution from the Unlirnited Joint Settlement Fund, an individual must_:

(i) be a migrant agricultural worker employed in Mecca Farms’ tomato
packing house from August 1997 through March 2002, inclusive; or

(ii) be a migrant agricultural worker employed in Mecca Farms pepper
packing house from August 1997 through March 2002, inclusive; and

(iii) who did not opt out of the class

C. Distribution of the Unlimited Joint Settlement Fund, Claim Period, and Payment
Schedule

1. Class Representatives

The Field Class Representatives Field Accident Plaintiffs and Packing House Class
Representatives will receive a total sum of Filty Five Thousand Dollars ($55,000.00) which shall be
paid in full upon the Settlement Effective Date. Legal Services is solely responsible for determining
the quantity of money each Field Class Representative, Field Accident Plaintiff, and Packing House

Class Representative will receive from the total sum and its distribution thereof . Mecca Farms agrees

wPB#562103.3 1 1

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 30 of 51

to pay the Fifty Five Thousand Dollars ($55,000.00) through delivery of readily available frmds (i.e.,
cash, wire transfer, cashiers check, certified check, trust account check, etc.) to Legal Services This
shall constitute a full and complete satisfaction of the claims of the Field Class Representatives and
the Parking House Class Representatives and they shall not share in any further proceeds from the
Unlirnited Joint Class Settlement Fund.

2. Class Members

The Unlirnited Joint Settlement Fund will be distributed to the remaining members of the
Field Class and the Packing House Class (i.e., not including the Field Class Representatives Field
Accident Victims and Packing House Class Representatives) in the following amounts

a) Field Class members $5.00 for every day worked;

b) Tomato Packing House Class members $4.00 for every day worked; and

c) Pepper Packing House Class members: $3.00 for every day worked.
If there is verifiable proof that the social security (FICA) taxes were paid, the claimant will receive
50% less per day, for each day the Social Security taxes were paid, than otherwise provided for in
this paragraph

3. The Clairns Period

The period for Field Class and Packing House Class members to make class claims shall end
on February l, 2004. lf either the Master List has not been completed (see Section IV(C)(4)) or the
Preliminary Approval Date has not occurred by May l, 2003, the Claim Period shall be extended by
an additional day for each additional day beyond May 1, 2003 that is needed to complete both the

Master List and obtain Preliminary Approval.

4. Master List

wPB#5621033 12

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 31 of 51

Class Counsel, through contracting with a third party acceptable to the Parties, will prepare a
list (the “Master List”) from available records which will specify all the individuals in the Field Class
and Packing House Class specify the Social Security number of the individual if one was supplied to
the employer, the number of days those individuals worked, the employer(s) the individuals worked
for, and the total monies owed under the formula set out in Section V(C)(2). Mecca Farms will
advance the necessary funds to Class Counsel, which will be credited against the Class Counsel
Attomey Fee payment, to fund the preparation of the Master List. Mecca F arms also agrees to
facilitate the preparation of the Master List by providing Class Counsel with all pertinent records
either in paper or electronic form. The Master List shall be prepared and paid for by May 1, 2003.
The contents of the Master List shall remain confidential between Mecca Farms and Class Counsel
and shall not be disclosed to third parties or any class members without the written consent of Mecca
Farms and Class Counsel.

5. Clairning Opportunities

Class Counsel shall provide potential claimants regular opportunities not less than once a
week, to file a claim (“Claiming Opportunities”). Class Counsel shall provide Mecca Farms with
advance notice of at least one week as to the precise time and location of a Clairning Opportunity. lf
a Mecca representative chooses not to attend a Clairning Opportunity, Class Counsel may conduct
the session without a Mecca representative Clairning Opportunities shall not be held on
Wednesdays or Fridays but may be held on any other day of the week, or in any location. It is the
intention of the parties to facilitate Clairning Opportunities for class members and therefore these
Clairning Opportunities shall be scheduled at times and locations accessible to and convenient for the
class members Because a substantial portion of the Field Class Members reside in Indiantown, the

parties agree to conduct no fewer than five (5) Clairning Opportunities at a site in Indiantown

wPB#562103.3 13

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 32 of 51

convenient and accessible to Field Class Members

6. Claim Verification Procedure

Each member of the Field Class and Packing House Class who seeks disbursement of funds
from the Unlirnited Joint Settlement Fund shall appear in person if present in the State of Florida at
one of the Clairning Opportunities and fill out an application (the “Application”). If a member of the
Field Class and Packing House Class is residing outside the State of Florida, they will be permitted
to submit the Application by mail but must otherwise comply with the Claim Verification Procedure
set forth herein. The Application shall require the individual to state:

a) The name supplied to the Field FLC Defendants or the Packing House FLC
Defendants at the time of the individuals’ employment;

b) the Social Security number provided at the time of the employment (if any);

c) the name of the FLC or other person the individual believes he or she was employed
with;

d) the approximate time frame the individual believes he or she was employed by the
Field FLC Defendants or the Packing House FLC Defendants;

e) the individual’s current address and;

f) if the individual appears at a Clairning Opportunity, the individual’s signature which
evidences that the information is being provided pursuant to the requirements of Section 92.525,
Florida Statutes, or the equivalent Federal statute; if the individual is not present at a Clairning
Opportunity but completes the Application in the United States the Application shall be notarized; if
the individual is residing outside the United State, the Application shall be notarized or verified by a
government official including officers of the judicial sysytem.

Class Counsel may assist an individual in filling out the Application, however, such

wPB#562103.3 14

Case 9:01-cV-O9013-KLR !Document 125 Entered on FLSD chket 03/03/2003 Page 33 of 51

and/or the Packing House FLC Defendants and which included the Social Security number in the
Application (“Social Security Applicants”) shall be paid within 35 days of the Application having
been provided to Mecca Farms; and

c) Individuals who submitted a proper Application and did not provide the Field FLC
Defendants or the Packing House FLC Defendants with a Social Security number and did not
provide a wage statement with the Application (“Remaining Applicants”) shall be paid within 50
days of the Application having been provided to Mecca Farms
Field Class Members and Packing House Class Members which supplied the Field FLC Defendants
and/or the Packing House FLC Defendants with a Social Security number during the term of their
employment and are unable to provide the same Social Security number as part of the Application
are not eligible for disbursements from the Unlirnited Joint Settlement Fund.

Class Counsel shall submit to Mecca F arms on a weekly basis all of the applications
submitted by Wage Statement Applicants and Social Security Applicants which have been properly
prepared. Class Counsel shall submit to Mecca Farms, within twenty (20) days of the end of the
Clairns Period, all of the applications submitted by the Remairring Applicants which have been
properly prepared. Within 30 days of its receipt of an Application prior to the end of the Clairns
Period and within 45 days of its receipt of an Application after the Clairns Period has expired, Mecca
Farms may review the Application and object to its validity. If Mecca Farms objects it shall set
forth its basis in writing. For any Application submitted by a clairniant outside the United States
Mecca Farms shall always have the opportunity to show that the Application is fi'audlent. IfMecca
Farms is able to show by a propenderence of the evidence that such a claim is fraudulent after it has
been paid, Mecca Farms will be entitled to a credit agsint the Attomey Fee Settlement Amount in the

arnount of the claim. If the Parties are unable to resolve the objection of Mecca Farms, it shall be

wPB#562103.3 16

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 34 of 51

9. Notice to the Settlement Class

Promptly following the Preliminary Approval Date, Class Counsel shall provide the notice of
proposed class settlement approved by the Court in the Field Case and the Packing House Case. Due
to the lack of addresses for the class members the Parties have agreed that Class Counsel will
provide notice in the following manner:

Fublish the Field Class Notice (attached as Exhibit B) and the Packing House Class Notice
(attached as Exhibit C) in the Spanish language in Spanish language newspapers in Palrn Beach or
Martin Counties;

Publish an abbreviated Field Class Notice (“Field Class Radio Notice” attached as Exhibit D)
and Packing House Class Notice (“Packing House Radio Notice” attached as Exhibit E) in the
Spanish language via Spanish language radio programs which broadcast in Palrn Beach or Martin
counties

Publish handouts containing the language in the Radio Notices as described in the preceding
paragraph, and post these notices in locations frequented by farmworkers in Palrn Beach and Martin
counties such as churches social service agencies and retail establishments and

No notices will be published outside the State of Florida and Class Counsel shall not
otherwise solicit class memebers outside the State of Florida including the posting of handouts but
Class Counsel may send an Application to class members outside the State of Florida if those class
members contact Class Counsel and request an Application.

10. Objections

Class Members who wish to present an objection to the proposed settlement must either
do so in writing or attend the Fairness Hearing. If the objecting individual chooses to submit a

written objection in lieu of attending the Faimess Hearing, the individual must write to the Clerk of

wPB#562103.3 19

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 35 of 51

the Court at least ten (10) days before the Faimess Hearing. If the objecting individual attends the
fairness hearing without having submitted a written objection, then parties agree that Mecca Farms
has the right to seek a continuance of the Fairness Hearing in order to respond to the objecting
individual’s concems In the event that sixty (60) or more of the combined total of the Field Class
Members and the Packing House Class Members elect to opt out from participation in the monetary
portion of this settlement, Mecca Farms may, at its option, void this Agreement at least seven (7)
days prior to the date set for the Final Approval hearing. In the event that Mecca Farms elects to
void this Agreement, it shall have no obligations to pay monetary relief, attomeys’ fees expenses or

implement any injunctive relief under this Agreement

W. CERTIFICATION OF FlELD CLASS FQR PURP()SES OF SETTLEMENT

For the purposes of this Agreement, the Parties hereby stipulate to the certification in the
Field Case of a class consisting of:
All migrant and seasonal agricultural workers furnished to Mecca F arms Inc.
by M. Sanchez & Son, Inc., Maria T. Sanchez, or Rogerio T. Rodriguez from
August 1997 through November 2001 , inclusive
Class Counsel is responsible for providing the required notice to the above-referenced class
and otherwise complying with the requirements of the Federal Rules of Civil Procedure and Federal
law. In the event that the Agreement is not approved by the Court or, for whatever reason, the
Settlement Eff`ective Date does not occur, the stipulation made in this section shall become null and
void unless the Parties agree otherwise in writing, and all negotiations and proceedings relating
thereto shall be without prejudice to the rights of the Parties and they shall proceed thereafter in all
respects as if the stipulation in this section had not been made and the related orders not entered,

preserving in that event all of their respective claims and defenses in the action, and otherwise

restoring all of the Parties to their respective positions immediately prior to this Agreement being

wPB#562103.3 20

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 36 of 51

executed, and neither the stipulation of this section nor any of the motions notices orders or other

documents relating to it may be admissible in further proceedings

VlI. ATTORNEYS’ FEES AND EXPE'NSES

Mecca Farms has agreed to pay Two Hundred Thousand Dollars ($200,000.00) (the
“Attomey Fee Settlement Amount”) in full settlement of the attomeys’ fees and costs incurred by the
Field Class Representatives the Field Accident Plaintiffs the Field Class the Packing House Class
Representatives the Packing House Class and Class Counsel in the Field Case and the Packing
House Case. Mecca Farms shall pay the Attorney Fee Settlement Amount through delivery of
readily available funds (i.e., cash, wire transfer, cashiers check, certified check, trust account check,
etc.) to Legal Counsel within thirty (30) days of the last day of the Claim Period.

The amount of attomeys’ fees and costs received by Legal Services pursuant to this section
fully satisfies any obligation Mecca Farms may have to pay attomeys’ fees and costs including but
not limited to expert witness fees to or on behalf of the Field Class Representatives the Field
Accident Plaintiffs the Field Class Members, the Packing House Representatives and the Packing
House Class Members for any and all work, including but not limited to work to be performed and
costs and expenses to be incurred by Class Counsel to implement and administer this Settlement

Agreement.

VIII. NON-MONETARY RELIEF
In addition to the Settlement Amount and the Attomey Fee Settlement Amount, and as part of
the consideration for the Field Class Representatives the Field Accident Plaintiffs the Packing
House Class Representatives and Class Counsel executing this Agreement, Mecca Farms hereby

agrees to take the following respective actions

wPB#562103.3 21

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 37 of 51

A. Field and Packing House Cases

1 . Disclosures.

Mecca Farms will include as part of its stande contract form for contracting for services
from FLCs (the “Forrn Contract”) a requirement that the FLC provide its employees a written
disclosure, in English and Spanish, of the matters required under 29 U.S.C. § 1821(a) at the
beginning of each vegetable harvest season or at the time a specific employee is first employed by
the FLC. ln addition, the written disclosure shall also include:

a) The following definition of “Waiting Time”: “You have the right to be credited for all
the hours you work during the work day. “‘Workday’ ...[is] the period of between the commencement
and completion on the same workday of an employee’s principal activity or activities lt includes all
the time within that period whether or not the employee engages in work throughout all of that
period...lf` an employee is required to report to the actual place of performance of his principal
activity at a certain specific time, his ‘workday’ commences at the time he reports there for work in
accordance with the employer’s requirement, even though work through a cause beyond the
employee’s control, he is not able to commence performance of his productive activities until a later
time ln such a situation the time spent waiting for work should be part of the workday.”” 29 C.F.R.
§ 790.7(b).

b) The following definition of “Build-Up Pay”: “You are entitled to be paid the
minimum wage of $5.15 an hour even if being paid piecerate. lf you do not earn enough tokens to
earn the minimum wage for all the hours you have worked during a specific pay period, your
employer MUST pay you the difference If, for exarnple, you work one day of the pay period and you
pick 100 buckets of tomatoes for $.40 a bucket and arrive to the fields at 7:00 AM and leave at

5 :OOPM, the minimum wage is $51.50. lf you earned only $40 worth of tokens your employer must

wi>a#562103.3 22

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 38 of 51

pay you $11.50 so that you will have earned the minimum wage”

c) Name and phone number of a Mecca Farm’s employee (fluent in the Spanish
language) that the FLC employees can contact if they believe that the FLC is violating the
requirements of Federal labor laws the FLC is violating the requirements of the contract between
Mecca Farms and the FLC, or the FLC is otherwise engaging in improper or illegal activities or any
other matters related to work on lands owned or operated by Mecca Farms

d) The following information about the Florida Legal Services Migrant Farmworker
Justice Project: “1f you have questions about your employment rights as a farmworker call the
Florida Legal Services Migrant Farmworker Justice Project at 1-800-277-7447. The call and the
legal services are free.”

e) The following information about the right to receive payment in the form of a check:
“You shall not be paid in cash. You will receive your payment in the form of a check accompanied
with a wage statement on a weekly basis.”

f) The following information about receiving tokens for every bucket picked: “For every
bucket that is dumped into the truck, you shall receive a token.”

g) The following information about daily token tallies: “Every day that you work earning
piecerate, you shall receive from your employer a written summary of the total amount of piecerate
earnings for that day.”

h) A signature line for the new employee’s signature

Mecca F arms will require that the FLCs provide it with a copy of the aforementioned
disclosure after it has been executed by the employee and that the FLCs develop a system to properly
verify that each of their employees has been provided and has executed the required disclosure The

FLCs’ shall provide to Mecca Farms, on a weekly basis the signed disclosures obtained during that

wPB#562103.3 23

Case 9:01-cV-O9013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 39 of 51

week. Mecca Farms shall review the information provided to it by the FLCs and other information
reasonably available to Mecca Farms, to determine if the FLCs are obtaining all required disclosures
The parties agree to work cooperativer to provide an accurate translation of the above disclosure
requirements in the Spanish language

2. Daily token totals

Mecca Farms will include as part of the Forrn Contract a requirement that, to the extent piece
rate work is performed on a particular work day, the FLCs are to provide their employees with a
written receipt at the end of each work day which discloses the type and amount of piece rate work
performed on that particular day. ln addition, the FLCs will be required to maintain records as to the
number of hours their employees work when doing piece rate work and ensure that their employees
receive compensation at least equal to the minimum wage they would be entitled to on an hourly
basis

3. Payment by Check.

Mecca Farms will include as part of the Form Contract a requirement that the FLCs pay their
workers via check which will be accompanied by a wage statement containing the information
required by the 29 U.S.C. § 1821 (d)(l). The Forrn Contract will also provide that the data contained
on the wage statements or duplicates of the wage statements are to be provided to Mecca F arms ln
addition, the wage statements shall contain the following inforrnation: “For work performed on land
owned or controlled by Mecca Farms, This wage statement shall be accompanied by a check. You
should NOT receive your wages in cash.”

4. anLcJL

ln addition, the Form Contract will require the FLCs to disclose to Mecca Farms the

information necessary for Mecca F arms to independently calculate the amounts that the FLCs are to

wi>B#562103.3 24

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 40 of 51

withhold for FICA, the amounts that the FLCs have to pay for unemployment insurance, vehicle
insurance, and workers compensation, and any other amounts which the FLCs may properly and
legally withhold from their employees on the FLC employees who are paid on an hourly or piecerate
basis Following the FLCs payment of the items referenced above, the FLC shall provide proof of
such payment to Mecca F arms and otherwise cooperate in verifying that payment has been made

5. Mecca “compliance officer.”

Mecca shall employ a person or persons fluent in both English and Spanish, who will receive
inquires from FLC employees’ with questions related to their work on property owned or controlled
by Mecca Farms This “compliance officer” shall take measures to try to assist the FLC employees
with their inquiries by either providing direct assistance or contacting the appropriate persons on
their behalf.

B. Additional Field Case Non-Monetary Relief

l . Transp_ortation.

Mecca Farms will, at the beginning of each vegetable harvest season and throughout the
season when reasonably necessary, require any Farm Labor Contractor (“FLC”), which has
contracted with Mecca Farms, to disclose to Mecca Farms any vehicles that the FLC intends to
utilize to transport migrant or seasonal agricultural workers to property owned or controlled by
Mecca Farms Mecca Farms will verify that the vehicle(s) have the safety equipment required by
law, are being driven by a properly licensed individual, are properly insured, and comply with state
and federal laws regulating the transportation of migrant farmworkers Mecca Farms will implement
and monitor a decal system or other arrangement reasonably intended to discover whether FLCs are
using vehicles other than those disclosed to transport their workers Mecca Farms will require, as

part of its Form Contract, a requirement that the FLCs utilize only vehicles that have been verified by

wPB#562103.3 25

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 41 of 51

Mecca Farms to transport their employees and that all other vehicles utilized to transport employees
are prohibited. In the event that FLCs are found to be utilizing unverified vehicles Mecca Farms
reserves the right to terminate such FLC’s contract with Mecca Farms if the FLC fails to correct the
situation or has multiple violations within a single season.

C. Additional Packing House Case Non-Monetary Relief

1. Waiting Tirne.

The compensable workday at the packing houses shall begin from the hour that the packing
house workers are told to report to work at a Mecca packing house As has been the practice during
the time period covered by the lawsuit, the morning reporting time is usually communicated by the
time posted on the board next to the time clock. The packing house workers shall also be paid for
periods of inactivity during the workday such as breakdown periods in accordance with federal law.

Mecca Farms, with the approval of the Field Class Representatives the Packing House Class
Representatives and Class Counsel, is taking the actions required by Section Vlll to prevent the
violation of federal, state, or local laws on property owned or controlled by it and not for the purpose

of exerting control over the FLCs or the employees of the FLCs.

IX.fJUDGMENT TO BE ENTERED APPROVING THE SETTLEMENT
If the Court enters its Order Tentatively Approving Settlement in the form of attached
Exhibit A, or any other form thereof agreeable to the parties and if after the hearing the Court
approves the settlement embodied in this Stipulation and the Exhibits hereto without modification
then a final order shall be entered in this action:
Approving the settlement contemplated in this Stipulation as lawfirl, fair, just, reasonable, and
adequate after considering, among other things that the settlement was reached at arms length after

good faith, arms’ length negotiations by experienced and capable class counsel and in the absence of

er#562103.3 26

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 42 of 51

collusion; the amount of the settlement; the likelihood of the claimants’ success in obtaining all relief
prayed for; the cost, complexity, and duration of the litigation if pursued through trial; the further
disruption of the business activities of Mecca Farms; and any other matters bearing on the best
interests of the parties and directing its consummation and that all parties perform in accordance with
the terms of this Stipulation and attached Exhibits

Permanently and finally certifying, under Rule 23(e) of the Federal Rules of Civil Procedure, the
following settlement class for the Field Case in this cause as follows:

All migrant and seasonal agricultural workers furnished to Mecca Farms, Inc.

by M. Sanchez & Son, Inc., Maria T. Sanchez, or Rogerio T. Rodriguez from
August 1997 through November 2001 , inclusive

Perrnanently and finally certifying, under Rule 23(e) of the Federal Rules of Civil Procedure,
the following settlement classes for the Packing House Case in this cause as follows
All agricultural workers employed or jointly employed by Defendants Mecca

Farms, Inc. in Mecca Farms’ tomato packing house from August 1997
through March 2002, inclusive

-and_
All agricultural workers employed orjointly employed by Defendants Mecca

Farms, Inc. in Mecca Farms’ pepper packing house from August 1997
through March 2002, inclusive

Providing that members of the class who have duly and timely requested exclusion from the class
may thereafter pursue only their own individual remedies if any, and not any class actions based on
the claims in the Plaintiffs’ Amended Complaints

Dismissing this action with prejudice, except that the court retains jurisdiction to reopen the
action to enforce the terms of the settlement specifically, upon cause shown that the settlement has

not been complied with, and that a party wishes to enforce the terms of the settlement specifically.

X. ENFORCEMENT OF THE AGREEMENT

WPB#562103.3 27

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 43 of 51

Only the Field Class Representatives Packing House Class Representatives Field Class
Members or Packing House Class Members through Class Counsel, or Mecca Farms may seek to
enforce this Agreement, The Courts with jurisdiction over the Field Case and the Packing House
Case, respectively, alone shall have plenary authority to resolve all disputes arising under the
Agreement. The Field Class Representatives Field Accident Plaintiffs Field Class Members,
Packing House Class Representatives Packing House Class Members, Class Counsel, and Mecca
Farms agree to submit any action with respect to the Agreement or its enforcement to the jurisdiction
of the United States District Court Southem District of Florida, and hereby waive any challenge to
jurisdiction or venue over any such action or proceeding in the Southem District.

At the request of Class Counsel or Mecca Farms, Class Counsel and Mecca Farms shall
confer, as necessary, and an earnest effort shall be made by the Parties to resolve promptly any
differences or any disputes regarding the interpretation, irnplementation, or enforcement of the
Agreement. lf any issue is not resolved informally, Class Counsel or Mecca Farms may seek relief
liom the Court. Prior to seeking relief fi‘om the Court, the Parties agree to submit the issue to
mediation before Judge Gerald Wetherington (Retired) or such other mediator as is agreed to
between the Parties Seven (7) days following the mediator issuing written findings that the
positions of the Parties are irreconcilable or that the issue cannot be otherwise resolved through

mediation, the Parties may seek relief from the Court in the Field Case or the Packing House Case

Xl. EFFECT OF FAILURE TO CONSUMMATE SETTLEMENT
If the settlement contemplated hereby is not consummated because of Mecca Farms’ default
in its payment obligations under Section V or Section VII above or default in its obligations under
Section Vlll above and said default remains uncured for a period of thirty (30) days then Class

Counsel shall upon motion with notice to counsel for the defaulting party or parties be entitled to

er#562103.3 28

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 44 of 51

entry of judgment and attorneys fees and costs for seeking the execution of the judgment against the
defaulting party or parties for the total of all sums remaining unpaid by that party or parties under
Section V and Section Vll above, and the Plaintiffs may seek to execute on the judgment

ln the event that the Agreement is not approved by the Court or, for whatever reason, the
Settlement Effective Date does not occur, this Agreement shall become null and void unless the
Parties agree otherwise in writing, and all negotiations and proceedings relating thereto shall be
without prejudice to the rights of the Parties and they shall proceed thereafter in all respects as if this
Agreement had not been executed and the related orders not entered, preserving in that event all of
their respective claims and defenses in the action, and otherwise restoring all of the Parties to their
respective positions immediately prior to its execution, and neither this Agreement nor any of the

motions notices orders or other documents relating to it may be admissible in further proceedings

XII. FURTHER LITIGATION BY FLORIDA LEGAL SERVICES. INC.

The parties to this stipulation recognize that Rule 4-5.6(b) of the Rules regulating the Florida
Bar does not permit settlement agreements that restrict an attomey’s capacity to practice law. Legal
Services by its undersigned attomey, hereby states that it has no knowledge of other persons who
may have claims against the Mecca F arms arising from the matters resolved herein. Legal Services
will not seek out or solicit any persons other than the claimants and class members referred to in this
Agreement regarding claims arising out of the acts or omissions complained of in this action, Legal
Services hereby states that it does not intend to file any further litigation or administrative complaints
arising from the 1996-97, 1997-98, 1998-99, 1999-2000, 2000-01 and 2001-02 South Florida
vegetable seasons relating to matters that are the subject of the two actions Except as provided for
by Section IV above, this provision shall in no way prevent Legal Services from providing legal

representation to the Plaintiffs or other farmworkers with regard to claims arising from this period or

wPB#562103.3 29

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 45 of 51

subsequent seasons or in claims arising from legal bases and factual circumstances other than those
raised in this action, including, but not limited to claims brought under the Florida Workers’
Compensation Law, Fla. Stat. § 440.01 et seq. and/or the Florida Unemployrnent Compensation Law,

Fla. Stat. §§ 443,011 et seq.

XIII. MISCELLANEOUS PROVISIONS

A. Construction of Agreement

Each Party has been given an opportunity to participate in the drafting and preparation of this
Agreement. Hence, any rule that the Agreement should be construed against its drafter shall not
apply here

B. Entire Agreement

The Parties represent and warrant that no promise or inducement has been offered or made
except as set forth herein and that they are entering into and executing this Agreement without
reliance on any statement or representation not set forth within this Agreement. The consideration
stated herein is the sole consideration for this Agreement. This Agreement reflects the entire
agreement between the Parties and supersedes all prior or contemporaneous agreements discussions
or representations oral or written, with respect to the subject matter hereof.

C. Cooperation

The Parties agree to cooperate to seek approval of and implement the terms of this
Agreement. The Parties agree to cooperate in seeking the Court’s approval of the Agreement at the
Faimess Hearing.

D. Modification

”lhis Agreement may not be modified or supplemented orally.

E. No Waiver

wPB#562103.3 30

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 46 of 51

The waiver by any Party of any breach of the Agreement shall not be deemed or construed as
a waiver of any other breach, whether prior, subsequent, or contemporaneous of the Agreement.

F. Successors and Assigns

This Agreement shall be binding upon, and shall inure to the benefit of`, the successors
assigns devisees executors administrators heirs and legal representatives of the Parties and the
Released Persons; provided, however, that no assignment by any Party shall operate to relieve such
Party of its obligations hereunder.

G. Commitment to Defend Agreement

The Field Class Representatives the Field Accident Plaintiffs Field Class Members, Packing
House Class Representatives Packing House Class Members, Class Counsel, and Mecca Farms shall
defend this Agreement from any legal challenge whether by appeal, collateral attack, or objection.

H. Calculation of Time

ln computing any period of time prescribed or allowed by this Agreement, unless otherwise
stated, such computation or calculation shall be made consistent with Federal Rules of Civil
Procedure 6(a) and (e).

I. Notices

All notices and other communications required under this Agreement to be provided to the
Parties shall be in writing and delivered either personally, by facsimile, or by depositing the same,
postage prepaid, in the United States mail, addressed to the Party hereto to whom the same is
directed at the following addresses
To the Plaintiffs and Class Members
Migrant Farmworker Justice Project

508 Lucerne Avenue
Lake Worth, FL 33460

Attn: Cathleen Caron, Esq.

wPB#562103.3 31

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 47 of 51

Fax No. 561-582-4884
To Mecca Fanns:
Mecca Farms, Inc.

P.(). Box 541779
Lake Worth, Florida 33454-1779

Attn: Gary Smigiel, Esq.
Fax No.561-968-3601

With a copy to:

Henry S. Wulf`, Esq.

Carlton Fields P.A.

222 Lakeview Avenue, Suite 1400
West Pahn Beach, FL 33410

Fax No. 561-659-7368
The Parties may from time to time change their address for the purposes of this Section by
providing written notice, return receipt requested, of such change to the other Parties

J. Counterparts

This Agreement may be executed in multiple actual or telecopied counterparts each of which
when so executed shall constitute an original. The executed signature pages from each actual or
telecopied counterpart may be joined together and attached to one such original, which shall
constitute one and the same instrument

K. Koowing And Voluntary Agreement

ln entering into this Agreement individually and on behalf of the Field Settlement Class and
the Packing House Settlement Class the Field Class Representatives the Field Accident Plaintiffs
and the Packing House Class Representatives represent that they and the Field Settlement Class and
the Packing House Settlement Class have been and are adequately represented in this matter by Class
Counsel, they have consulted such legal counsel before entering this Agreement and have been
advised as to the meaning of the terms of the Agreement and understand the terms of the Agreement,

and they are executing this Agreement freely and voluntarily and without coercion or threats of any

wi>B#562103.3 32

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 48 of 51

kind. The Field Class Representatives the Field Accident Plaintiffs and the Packing House Class
Representatives represent that they have obtained the consent of Class Counsel to all the terms of this
Agreement, including but not limited to the terms relating to payment of attomeys’ fees and costs
which shall be manifested by the signature of Class Counsel indicated below, and that they have
authorized Class Counsel to execute this Agreement on behalf of the Field Class Representatives the
Field Accident Plaintiffs the Packing House Class Representatives the Field Settlement Class and
the Packing House Settlement Class. Class Counsel likewise represent that they are authorized to
execute this Agreement on behalf of the Field Class Representatives the Field Accident Plaintiffs
the Packing House Class Representatives the Field Settlement Class and the Packing House
Settlement Class and thereby bind the Field Class Representatives the Field Accident Plaintiffs the
Packing House Class Representatives the Field Class Members, and the Packing House Class
Members to this Agreement.

L. Miscellaneous.

The Field Class Representatives, the Field Accident Plaintiffs and the Packing House Class
Representatives and Mecca F arms shall not, directly or indirectly, in any way exercise, and they, and
all of them, do hereby waive, any and all rights they, or any of them have or may have to appeal from
any order of court entered pursuant to and in accordance with this Stipulation.

Neither this Agreement nor any documents executed or prepared, acts done or orders entered
pursuant to this Agreement shall be construed as an admission by Mecca Farms, of the validity of
any claims asserted in this action or of the Mecca Farms’ liability herein or of any wrongdoing or of
any act or omission by them, nor construed as an admission of any fault or omission in any statement
or document, nor offered or received in evidence in any civil, criminal, or administrative action or

proceeding against any party other than such proceedings as may be necessary to consummate or

wPB#562103.3 33

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 49 of 51

enforce this Agreement and attached Exhibits and other than to the extent necessary to prove the
terms of this Agreement and the attached Exhibits in any other action or proceedings

Class Counsel and counsel for Mecca Farms agree that they will not solicit or advise potential
class members to request exclusion from the class and will not represent or arrange representation
for, any potential class member in requesting exclusion from the potential class and/or filing a
separate action,

The Field Class Representatives and the Packing House Class Representatives will make
good faith efforts to give notice to as many class members as possible and will make a good faith
effort to foster the maximum res judicata effect of this settlement. To this end, Mecca F arms will
provide Class Counsel any information in its possession which is needed to identify the members of
the class obtain their most recent known addresses and to compute the amounts due each class
member under this agreement

The Field Class Representatives the Field Accident Plaintiffs and the Packing House Class
Representatives and their counsel will cooperate with the Mecca Farms in resisting a collateral attack
on the judgment contemplated in this Agreement.

This Agreement is and shall be binding upon the predecessors and successors of Mecca
Farms and shall inure to the benefit of the Mecca Farms’ predecessors successors subsidiaries
shareholders affiliates representatives assigns agents officers directors attorneys contractors
general and limited partners and employees and in the case of the individual members of the
settlement class their heirs successors assigns executors and administrators

IN WITNESS WHEREOF, the parties by their counsel have signed this Stipulation of

Proposed Settlement Agreement.

wPB#562103.3 34

Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 50 of 51

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Case 9:01-cV-09013-KLR Document 125 Entered on FLSD Docket 03/03/2003 Page 51 of 51

MECCA FARMS, INC.

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36

